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                            United States District Court
                                      for the
                            Southern District of Florida

  Lezer Corp., Plaintiff,               )
                                        )
  v.                                    )
                                        ) Civil Action No. 20-23235-Civ-Scola
  Noble Partners LLC, dba Noble         )
  Medical Supply and Sean Grady,        )
  Defendants.                           )

                                    Judgment
        The Court has granted final default judgment in Plaintiff Lezer Corp.’s
 favor. (Order, ECF No. 30.) The Court now enters judgment in favor of Lezer, in
 the amount of $108,000, and against Defendants Noble Partners LLC, doing
 business as Noble Medical Supply, and Sean Grady, jointly and severally and as
 required by Federal Rule of Civil Procedure 58. For which sum, let execution
 issue. This case is to remain closed.
        The Court directs the Clerk to mail copies of this order as well as the
 Court’s order regarding Judge Torres’s report and recommendation (Order,
 ECF No. 30) to the defaulting Defendants at the addresses listed below.
       Done and ordered in Miami, Florida, on December 30, 2020.

                                            ___________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge
 Copies to:
 Noble Partners LLC, doing business as Noble Medical Supply
 Attn: Sean Grady, President
 12 Wellstone Drive
 Portland, ME 04013

 Sean Grady
 12 Wellstone Drive
 Portland, ME 04013
